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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

8

9    GILBERTO MALDONADO,               )       No. CV-F-07-1536 OWW
                                       )       (No. CR-F-02-5408 OWW0
10                                     )
                                       )       ORDER DENYING PETITIONER'S
11                      Petitioner,    )       MOTION FOR RECONSIDERATION
                                       )       OF DENIAL OF SECTION 2255
12                vs.                  )       MOTION, ORDERING
                                       )       PETITIONER’S ATTORNEYS TO
13                                     )       TURN OVER LEGAL MATERIALS,
     UNITED STATES OF AMERICA,         )       AND REQUESTING STAY OF ALL
14                                     )       RULINGS UNTIL PETITIONER
                                       )       RECEIVES LEGAL MATERIALS
15                      Respondent.    )       (Doc. 380)
                                       )
16                                     )

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19        By Memorandum Decision and Order filed on May 22, 2008,

20   Petitioner Gilberto Maldonado's motion to vacate, set aside or

21   correct sentence pursuant to 28 U.S.C. § 2255 was denied.

22   Judgment for Respondent was entered on May 22, 2008.

23        Petitioner moves for reconsideration, for an order directing

24   his trial counsel to provide him with all legal materials, and to

25   stay all proceedings until Petitioner receives his legal

26   materials.    Petitioner contends     that he is entitled to

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1    reconsideration because his defense counsel, Steven D. Bauer, and

2    appellate counsel, John Ward, never provided him with copies of

3    his files, despite repeated requests.       Attached to Petitioner’s

4    motion for reconsideration are copies of letters to and from

5    Petitioner, Mr. Ward and Mr. Bauer.

6         Petitioner was represented in the District Court by Steven

7    Bauer and Jeffrey Rosenblum.      Petitioner was represented on

8    appeal by John Ward.    Attached to Petitioner’s motion for

9    reconsideration is a letter to Petitioner from Mr. Ward dated

10   January 18, 2007, wherein Mr. Ward states:

11             I have sent you all the materials that I have
               concerning your case. The items you seek are
12             most likely in the hands of your trial
               lawyer, and I suggest you have your writ-
13             writer address his request to the trial
               lawyer.
14
          Also attached in a letter from Petitioner to Mr. Ward dated
15
     February 6, 2007, advising that the deadline for filing a Section
16
     2255 motion is one year and requesting that he be provided with
17
     the following documents:
18
               a) Indictment;
19             b) Warrant and Affidavit;
               c) Discovery, motions and orders;
20             d) Pre-trial motions and orders;
               e) Suppression motions and orders;
21             f) Voir dire;
               g) Jury instructions;
22             h) Trial transcripts;
               i) Sentencing transcripts;
23             j) Opening/closing arguments;
               k) Specile [sic] jury verdict forms;
24             l) Jury pool pacement [sic]/selections;
               m) Verdict;
25             n) Objections to PSI;
               o) Pre sentencing motions;
26             p) Witness list-trial/sentencing;

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1                 q) Judgment [sic] and commitment order;
                  r) Notice of appeal;
2                 s) Government’s brief and appellant response
                     brief;
3                 t) Unteroffice [sic] files and notes ....

4         Petitioner submits a copy of a letter from Petitioner to Mr.

5    Bauer dated February 21, 2007, advising Mr. Bauer of a recent

6    letter from Mr. Ward contending “he holds no paperwork of any

7    kind and that it is probably in ‘the hands of your trial

8    lawyer.’” Petitioner requests Mr. Bauer provide copies of the

9    following:

10                a.   Indictment/superseding indictments;
                  b.   Arrest warrant and supporting affidavits;
11                c.   Motion for conflict of interest by USA on
                       all dates;
12                d.   Hearing transcripts of that matter on
                       2/18-03;
13                e.   Memorandums [sic], motions and orders
                       relating to all pretrial proceedings;
14                f.   All discovery, motions, and orders;
                  g.   Orders relating to the conflict of
15                     interest matters;
                  h.   Transcripts of the minutes of hearing on
16                     6-09-03;
                  i.   Plea agreements with any co-defendants
17                     and sentence imposed in those cases;
                  j.   All 404(b) and 609 matters, motions,
18                     orders, etc.;
                  k.   Voir dire and jury instruction
19                     transcripts;
                  l.   Trial briefs by USA;
20                m.   Plea agreements entered;
                  n.   Jury selection and listing (to determine
21                     if any racial or improper jury matters);
                  o.   Trial exhibits and witness lists;
22                p.   Trial transcripts from June 2 to August
                       6, 2004;
23                q.   In camera minutes;
                  r.   Supplemental jury instructions and
24                     closing arguments;
                  s.   Jury notes and minutes of hearings on
25                     those questions;
                  t.   USA preliminary order as to forfeiture
26                     and Order;

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1              u.  Notice and motion of PSI of 10/19/04,
                   answers and Orders;
2              v. Presentence hearing transcripts and
                   matters;
3              w. Sentencing transcripts;
               x. Judgment and comitment [sic] Order;
4              y. Notice of Appeal;
               z. Appellant response brief, and Appellant
5                  answer;
               A1. Appellate decision;
6              A2. Final Order on forfeiture;
               A3. Interoffice files regarding my case;
7              A4. Any other documents, records, files, and
                   property relating to my case.
8
               These documents are important to prepare my
9              meaningful § 2255 motion. I request your
               prompt attention in these matters so I can
10             make mt [sic] motion timely, because I can’t
               remember all details to guess at issues that
11             might exist.

12   By letter dated February 26, 2007, copied to Mr. Rosenblum, Mr.

13   Bauer wrote to Petitioner:

14             There seems to be some confusion about who is
               supposed to do what. I had a number of
15             telephone conversations with Mr. Ward around
               the time of your sentencing. There was also
16             an exchange of e-mails at about the same
               time. All of these communications were
17             related to his obtaining your file from Jeff
               [Rosenblum] so he could pursue your appeal.
18             Although your file has always been available
               to Mr. Ward he has never picked it up.
19             Without that file it is unlikely that he has
               been unable to complete your direct appeal.
20             Until your direct appeal is complete a 2255
               petition would be untimely.
21
               I will make Jeff [Rosenblum] aware of this
22             request as he is in possession of your files,
               which I believe contains all of the documents
23             you have requested. It still appears to me
               that your file would be better off in the
24             hands of your appellate attorney but if you
               instruct us to do so we will ship the file to
25             you. You are correct that it is your file
               and we will do was you instruct, so please
26             let me know where you want it sent.

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1    By letter sent certified mail on March 16, 2007, Petitioner wrote

2    to Mr. Bauer:

3                Thank you for your prompt letter recently. I
                 do agree that it is difficult to determine
4                how a complete appeal could be made without
                 obtaining the file from your office, but the
5                appeal has been done and denied. Therefore,
                 sending anything to Mr. Ward is not
6                practicable. Thus, nothing need be sent to
                 the appellate attorney.
7
                 Because the appeal is complete, I would
8                request you forward the complete file to me
                 at the above heading.
9
     By letter dated June 15, 2007, Petitioner wrote to Mr. Ward:
10
                 Mr. Ward this communication is to request
11               some information from you and if possible get
                 some documents that may be in your
12               possession. The questions that I have are
                 the following: What was the criminal history
13               level, what level offense did I start and
                 what adjustment was given to me (if any).
14               Also, if you have copies of my trial
                 transcripts and all records pertaining to my
15               case in order to prepare to submit my § 2255.
                 I am aware that some time has elapse since
16               the denial of my direct appeal, therefore I
                 hope that you could help me out with this
17               [sic] questions and request of documents.

18   Mr. Ward responded by letter dated July 4, 2007: “I do not have

19   the information you seek, but I believe you may obtain it from

20   your trial counsel.”

21        Petitioner asserts that “to this date, Mr. Bauer have [sic]

22   not mailed the petitioner any of his legal material.”          Petitioner

23   contends:

24               [T]he petitioner do [sic] not understand the
                 laws or have any money to obtain an attorney
25               to help him with his legal problems. The
                 petitioner let a jailhouse lawyer prepare his
26               § 2255 motion which the jailhouse lawyer

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1                 never had any of the petitioner’s transcripts
                  or records pertaining to the petitioner [sic]
2                 case which the jailhouse lawyer argued the
                  same issues that the Court had already denied
3                 at the petitioner’s sentencing hearing.

4         Petitioner filed his Section 2255 motion on October 17, 2007

5    (pursuant to the “mailbox rule”), just ten days shy of the

6    expiration of the one-year limitation period.         Petitioner did not

7    assert in his Section 2255 motion that he did not have access to

8    his files or that he had been unable to obtain them from counsel

9    and did not request any delay or stay in the resolution of the

10   Section 2255 motion because he did not have access to his files.

11   Mr. Bauer’s letter dated February 26, 2007 advised Petitioner

12   that his files were in the possession of Mr. Rosenblum and that

13   Mr. Bauer would forward Petitioner’s request to Mr. Rosenblum.

14   Petitioner presents nothing from which it may be inferred that

15   Petitioner ever attempted to contact Mr. Rosenblum to obtain the

16   files.

17        The one year limitation period may be extended by equitable

18   tolling, but only where “extraordinary circumstances beyond a

19   prisoner’s control make it impossible to file a petition on

20   time.”   Espinoza-Matthews v. California, 432 F.3d 1021, 1026 (9th

21   Cir.2005).    A Petitioner “seeking equitable tolling bears the

22   burden of establishing two elements: (1) that he has been

23   pursuing his rights diligently, and (2) that some extraordinary

24   circumstance stood in his way.”         Pace v. DiGuglielmo, 544 U.S.

25   408, 418 (2005).    Determining whether equitable tolling is

26   appropriate is a “highly fact-dependent inquiry”, Whalem/Hunt v.

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1    Early, 233 F.3d 1146, 1148 (9th Cir.2000), and the movant “bears

2    the burden of showing that equitable tolling is appropriate.”

3    Gaston v. Palmer, 417 F.3d 1030, 1034 (9th Cir.2005).

4          Petitioner’s motion is DENIED.       Petitioner did not assert

5    that the absence of his files precluded him from raising claims

6    in support of his Section 2255 motion until after the motion was

7    denied.     Petitioner presents no evidence and makes no contention

8    that he contacted or attempted to contact Mr. Rosenblum after

9    being advised by Mr. Bauer that the files were in Mr. Rosenblum’s

10   possession.      The absence of this evidence establishes that

11   Petitioner did not pursue his rights diligently and that some

12   extraordinary circumstance stood in his way that prevented him

13   from including all claims in the Section 2255 motion.

14   IT IS SO ORDERED.

15   Dated:    June 17, 2008                /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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